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                   U.S. COMMODITY FUTURES TRADING COMMISSION
                                    77 W. Jackson Blvd, Suite 800
                                       Chicago, Illinois 60604
                                     Telephone: (312) 596-0663




 Division of
Enforcement

                                           June 14, 2022

  VIA ECF

  Hon. Valerie E. Caproni
  United States District Judge
  40 Foley Square
  New York, NY 10007


         Re: CFTC v. Alexandre, et al., No. 22-cv-3822

  Dear Judge Caproni:

          Plaintiff Commodity Futures Trading Commission (“Commission”), and Defendants
  Eddy Alexandre and EminiFX, Inc. (“EminiFX”) jointly move the Court to enter a consent order
  for preliminary injunction. The consent order, agreed to by the parties, is attached hereto as
  Exhibit A. A Word version of the consent order will be sent to the Court’s proposed order inbox.



                                              Sincerely,

                                              COMMODITY FUTURES TRADING
                                              COMMISSION

                                              /s/ Douglas Snodgrass

                                              Douglas Snodgrass
                                              U.S. Commodity Futures Trading Commission
                                              Division of Enforcement
                                              77 W Jackson Blvd, Suite 800
                                              Chicago, Illinois 60604
                                              (312) 596-0663 (Snodgrass)
                                              dsnodgrass@cftc.gov
                                              Attorney for Plaintiff Commodity Futures Trading
                                              Commission

  cc: Counsel of record (via ECF)
